 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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(Full name, date of birth, identification +, address af; petitioner) Cis; S. Distaes
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__ Plaintiff, &y SIRGT IBF Roer

 

 

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(Full name and address of respondent} Me \e

ee Defendant(s)- eT oo eT oo ~—" see —e oT - — ae —

~ |. Previous Lawsuits

_.. A. Have you filed other cases in state or federal court dealing with the same facts as in this. |...

wou... case or against the same defendants? oo wa ane ae ee oe see ee ee i ee

 

cee VES NO .

B. If you answered YES, describe that case(s) in the spaces below.
{. Parties to the other case(s):
Plaintift__» WAAR
Defendant(s): & \ &

2. Court (if a federal court name the district; if a state court name the e city or r county):

NAA

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4. Date filed: \ A

 

 

 

5. ‘Name of judged that handled the 2 case: NN \ KR _
6. Disposition (won, dismissed, still pending on spel) » \w

 

 

 

7. Date of Disposition: __ YN \ &K
Il. Administrative Proceedings oe
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b. Did you appeal? _ . Nh ae _ _. = _.

 

 

 

 

UI. Statement of Claim Cerone

(Briefly state the facts of your case. Include dates, times, and places. Describe what each
defendant did or how he/she is involved. If you are making a number of related claims,

number and explain each claim in a separate paragraph.)
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IV. Relief
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